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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,


        v.                                                  Case No. 12-CR-812 (KMK)

                                                                      ORDER
 JOHNATHAN DeLAURA,
                                  Defendant.



KENNETH M. KARAS, United States District Judge:

       Pursuant to the First Amended Standing Order regarding suspension of in-person

operations in the Southern District of New York, (see Dkt. No. 3 (20-MC-622 Dkt.)), the

evidentiary hearing in the above-captioned matter, currently scheduled for January 26, 2021, will

be postponed in light of the recent spike in Coronavirus cases. The hearing will now be held on

April 14, 2021, at 10:00 a.m.


SO ORDERED.

DATED:         January 12, 2021
               White Plains, New York
                                                    ____________________________________
                                                    KENNETH M. KARAS
                                                    UNITED STATES DISTRICT JUDGE
